      Case 1:03-md-01570-GBD-SN Document 5431 Filed 01/03/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     1/3/2020


In re:
                                                                     03-MDL-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         September 11, 2001                                                    ORDER


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         Today, the Court issues a ruling on the Plaintiffs’ Executive Committees’ (“Plaintiffs”)

motion to vacate the Court’s November 29, 2018 Order, ECF No. 4261 (the “November 29

Order”). That ruling is filed under seal until the parties have had an opportunity to meet-and-

confer following the resolution of Plaintiffs’ Rule 72 objections to the Court’s decision granting

in part Saudi Arabia’s motion to seal. See ECF No. 4696.

SO ORDERED.



DATED:           January 3, 2020
                 New York, New York
